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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

SOLOMON MONTAGUE,                            )
No. 08712-424                                )
                             Petitioner,     )
                                             )
              v.                             )      Case No. 18-CV-00138-DRH
                                             )
T.G. WERLICH,                                )
      Warden – Greenville FCI,               )
                                             )
              Respondent.                    )

          UNITED STATES OF AMERICA’S MOTION FOR EXTENSION OF
            TIME TO FILE RESPONSE TO PETITIONER/DEFENDANT’S
                              §2241 MOTION

       The United States of America, through its attorneys Steven D. Weinhoeft, United States

Attorney for the Southern District of Illinois, and Daniel T. Kapsak, Assistant United States

Attorney for said District, for its Motion for Extension of Time to Respond to Petitioner’s 28

U.S.C. §2241 Motion, states as follows:

       1) On January 25, 2018, the Petitioner filed for post-conviction relief as set forth in

           Petitioner’s §2241 motion (Doc. 1).

       2) Government’s Response to Petitioner’s motion is currently due on October 19, 2018.

       3) In an effort to supply the Court with the most thorough, and ideally beneficial, brief

           as possible, the United States respectfully requests additional time to properly review

           the motion, conduct relevant research, and write a response.

       4) The Government believes an additional 45 days would be sufficient to complete a
          response to Petitioner’s motion.

       WHEREFORE, the United States respectfully requests this Court grant an extension of

at least forty-five (45) days to properly comply with this Court’s order.
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                                  Respectfully submitted,
                                  STEVEN D. WEINHOEFT
                                  United States Attorney


                                  s/ Daniel T. Kapsak
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No. 08712-424                                  )
                               Petitioner,     )
                                               )
                v.                             )       Case No. 18-CV-00138-DRH
                                               )
T.G. WERLICH,                                  )
      Warden – Greenville FCI,                 )
                                               )
                Respondent.                    )

                                    Certificate of Service
          I hereby certify that on October 12, 2018, I caused to be electronically Filed United

 States    of   America’s     Motion for Extension of Time To File Response to

 Petitioner/Defendant’s §2241 Motion with the Clerk of Court using the CM/ECF system, and

 caused to be mailed by United States Postal Service on this same day, which will send notification of

 such filing(s) to the following non-registered participant:

Solomon Montague
08712-424
Greenville
Federal Correctional Institution
P.O. Box 5000
Greenville, IL 62246

                                               Respectfully submitted,
                                               STEVEN D. WEINHOEFT
                                               United States Attorney


                                               s/ Daniel T. Kapsak
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